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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
CATHERINE MCKOY, et al.,

                                Plaintiffs,

       -v-
                                                             CIVIL ACTION NO.: 18 Civ. 9936 (LGS) (SLC)

                                                                                ORDER
THE TRUMP CORPORATION, et al.,

                                Defendants.

SARAH L. CAVE, United States Magistrate Judge.

       Before the Court are several discovery disputes raised by Plaintiffs, specifically:

(i) Plaintiffs’ request for permission to take up to 25 fact-witness depositions (ECF Nos. 383–84);

(ii) Plaintiffs’ request to compel Defendants to produce certain documents and information

(ECF Nos. 386–87); and (iii) Plaintiffs’ requests to compel non-party ACN Opportunity, LLC

(“ACN”) to produce certain documents, and to take the depositions of ACN four founding

executives (ECF Nos. 396–97).

       Having reviewed the parties’ submissions, and having heard the parties’ arguments during

the discovery conference held today, May 18, 2022 (the “Conference”), the Court orders as

follows:

       1. Plaintiffs’ request to take up to 25 fact depositions is GRANTED IN PART and DENIED

             IN PART. As discussed at the Conference, Plaintiffs’ fact-witness depositions shall be

             limited to a total of 105 hours, inclusive of the two ACN witness depositions that

             Plaintiffs have already taken. The parties shall promptly meet and confer to identify

             the remaining witnesses that Plaintiffs intend to depose and, by 5:00 pm on June 3,

             2022, shall file a joint letter (the “Joint Letter”) indicating the names and deposition
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    dates of the fact-witness depositions to which the parties have agreed, or, if they

    cannot agree, setting forth the parties’ disputes as to these issues.

 2. Plaintiffs’ request to compel Defendants to produce the documents and information

    identified in Plaintiffs’ letters at ECF Nos. 386–87 is GRANTED IN PART and DENIED IN

    PART as follows:

       a. Plaintiffs shall promptly provide Defendants with a list of episodes of The

           Celebrity Apprentice (i) in which Defendants Donald Trump Jr., Eric Trump, or

           Ivanka Trump appeared, and (ii) for which Plaintiffs claim that these

           Defendants received compensation for promoting ACN (the “Episodes”).

       b. Defendants’ counsel shall promptly discuss with their clients the feasibility of

           a search for and production of the following:

                i. A list of all payments made by Trump Production LLC to Defendants

                   Donald Trump Jr., Eric Trump, or Ivanka Trump within 30 days of the

                   Episodes;

               ii. A list of all financial donations received by the Eric Trump Foundation

                   from ACN from 2013 through 2017; and

               iii. All transcripts of sworn testimony (i) given by individuals who will be

                   deposed in this action, (ii) as part of legal actions or investigations

                   relating to allegations of consumer fraud, including in connection with

                   Trump University, and (iii) that occurred since 2015.

       c. After these discussions, the parties shall promptly meet and confer to discuss

           the documents and information Defendants are willing to produce. In the



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                    Joint Letter, the parties shall advise whether any dispute remains on these

                    topics.

         3. At the Conference, Plaintiffs and ACN represented that they resolved Plaintiffs’

            request to compel ACN to produce non-email documents and information.

            Accordingly, Plaintiffs’ request as to this topic is DENIED as moot.

         4. Plaintiffs’ request to compel ACN to review and produce responsive emails and ESI

            resulting from the narrowed search identified in Plaintiffs’ letter at ECF Nos. 396–97

            and ACN’s letter at ECF Nos. 403–04, and as narrowed further as discussed during the

            conference is GRANTED, provided that Plaintiffs reimburse ACN for the reasonable

            costs incurred to perform the privilege review and production of these documents.

         5. Plaintiffs’ request to compel the depositions of ACN’s four founding executives is

            DENIED WITHOUT PREJUDICE to renewal, on a showing of good cause, following

            Plaintiffs’ completing the deposition of ACN’s Fed. R. Civ. P. 30(b)(6) witness.

         A telephone conference is scheduled for Wednesday, June 8, 2022 at 12:00 pm on the

Court’s conference line. The parties are directed to call: (866) 390-1828; access code: 380-9799,

at the scheduled time.

         The parties are directed to promptly order a transcript of today’s Conference.


Dated:          New York, New York
                May 18, 2022

                                                      SO ORDERED.




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                                    _________________________
                                    SARAH L. CAVE
                                    United States Magistrate Judge




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